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     KATHERINE MCNAMARA and
15   JEREMY WHITELEY
16                        UNITED STATES DISTRICT COURT
17                      CENTRAL DISTRICT OF CALIFORNIA,
18
19   BREAKING CODE SILENCE, a                        Case No. 2:22-cv-02052
     California 501(c)(3) nonprofit,
20
                                                     JOINT RULE 26(F) REPORT
21                       Plaintiff,
22           v.                                      Complaint Filed: March 28, 2022
                                                     Response Filed: May 6, 2022
23   KATHERINE MCNAMARA, an                          Trial Date (Proposed): October 2023
     individual, JEREMY WHITELEY, an
24   individual, and DOES 1 through 50,              Judge: Hon. Stanley Blumenfeld, Jr.
     inclusive,                                      MSC: June 17, 2022
25                                                   Time: 8:30 a.m.
                                                     Courtroom: 6C
26                       Defendants.
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 1             Pursuant to Federal Rule of Civil Procedure 26(f), Central District of
 2    California Local Rule 26-1, and this Court’s Mandatory Schedule Conference
 3    Order (Dkt. 15), Plaintiff Breaking Code Silence (“Plaintiff”) and Defendants
 4    Katherine McNamara and Jeremy Whiteley (collectively, “Defendants,” and
 5    together with Plaintiff, “the Parties”) submit this Joint Rule 26(f) Report following
 6    the Rule 26(f) meeting of counsel held telephonically on May 25, 2022.
 7    1.     SUBJECT MATTER JURISDICTION
 8             Plaintiff contends that this Court has jurisdiction over this action because
 9    Plaintiff brings claims under the federal Computer Fraud and Abuse Act, 18
10    U.S.C. §§ 1030 (a)(2)(C) and (a)(5)(C). This Court has supplemental jurisdiction
11    over the state law claim under California Penal Code § 502 because the claim
12    forms part of the same case or controversy and derives from a common nucleus of
13    operative facts as the claims brought under the Computer Fraud and Abuse Act.
14    Defendants do not contest subject matter jurisdiction.
15    2.     STATEMENT OF CASE
16             Plaintiff filed its complaint in this Court on March 28, 2022. Plaintiff
17    alleges that Defendants, following their resignations from Plaintiff’s board of
18    directors, illicitly accessed, used, and altered Plaintiff’s website, social media
19    accounts, other online accounts, and data without authorization from Plaintiffs.
20    Plaintiff alleges that Defendants’ conduct impacted Plaintiff’s ability to access its
21    online and social media accounts and diverted donors from Plaintiff’s online
22    presence during a period when Plaintiff had been receiving significant public
23    exposure. Plaintiff alleges that, as a result, it suffered harm in the form of, among
24    other things, lost business opportunities and money donations, lost good will, and
25    costs incurred from engaging forensic computer experts to discover, identify, and
26    remediate Defendants’ conduct and the effects thereof.
27             Defendants filed an answer on May 6, 2022. Defendants contend that: the
28    allegations of the Complaint are false and misleading concerning the conduct of

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 1    Defendants; and the specific domains, archives, and social media accounts alleged
 2    in the Complaint to belong to Plaintiff are in fact the property of McNamara and
 3    others. Defendants further contend that Plaintiff initiated the Complaint in bad
 4    faith, and without any legal or factual basis, for the purpose of: intimidating
 5    Defendants into turning over property to Plaintiff; avoiding reimbursing expenses
 6    paid by McNamara; and in retaliation for Defendants’ harassment complaints.
 7    3.     DAMAGES/INSURANCE
 8           A.         Damages
 9             Plaintiff’s Position. The full extent of damages Plaintiff suffered as a
10    result of Defendants’ misconduct is unknown at this time. Damages to be proven
11    at trial include, without limitation, the expenses associated with investigating
12    Defendants’ conduct and engaging forensic computer experts, lost business
13    opportunities and monetary donations, loss of goodwill, and attorneys’ fees and
14    costs.
15             Defendants’ Position. Defendants dispute that Plaintiff has suffered any
16    damages caused by Defendants’ conduct.
17           B.         Insurance
18             NonProfits Insurance Alliance of California, Policy No. 2021-69393-DO-
19    NPO. Coverage denied by letter dated May 17, 2022. NIAC Claim No.: 582521.
20    4.     PARTIES, EVIDENCE, KEY DOCUMENTS
21           A.         Parties
22             Plaintiff Breaking Code Silence, a California 501(c)(3) nonprofit.
23             Defendant Katherine McNamara.
24             Defendant Jeremy Whiteley.
25           B.         Percipient Witnesses
26             Plaintiff’s Position. At this time, Plaintiff identifies the following
27    individuals as percipient witnesses: Katherine McNamara, Jeremy Whiteley,
28    Mary Appelgate, Caroline Lorson, Noelle Beauregard, Jesse Jensen, Vanessa

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 1    Hughes, and Jennifer Magill.
 2             Defendants’ Position. At this time, Defendants identify the following
 3    individuals as percipient witnesses: Katherine McNamara, Jeremy Whiteley,
 4    Vanessa Hughes, Jennifer Magill, Athena Kolbe, Emily Carter, Rebecca
 5    Moorman, Caroline Cole, Bill Boyles, Amanda Boyles, Simone Hirsekorn, Molly
 6    Rose and Mary Appelgate.
 7           C.         Key Documents
 8             Plaintiff’s Position. At this time, Plaintiff contends that the following
 9    documents may be used to support its claims:
10             Communications between Defendants and others regarding accessing,
11    using, or altering Plaintiff’s website, social media accounts, other online accounts,
12    and data;
13             Documents reflecting Defendants’ access, use, or alteration of Plaintiff’s
14    website, social media accounts, other online accounts, and data;
15             Documents related to Plaintiff’s website, social media accounts, other
16    online accounts, and data; and
17             Documents reflecting the damages Plaintiff incurred as a result of
18    Defendants’ misconduct.
19             Defendants’ Position. At this time, Defendants contend that the following
20    documents may be used to support its defenses:
21             Forensic Report on which Complaint purports to be based;
22             Digital evidence of Defendants’ removal from accounts after their
23    respective resignations;
24             Digital evidence of password changes after Defendants’ resignations;
25             Webserver logs and audit logs;
26             Website access logs;
27             Wordpress logs;
28             Slack audit logs and chat logs;

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 1             Google workplace and download logs;
 2             Zoom call logs;
 3             Phone logs;
 4             Registrations and payment receipts for accounts and domains;
 5             Intellectual Property Assignment agreements (whether executed or
 6    unexecuted);
 7             Tuscows/Hover’s disclosures and terms of service;
 8             Communications (including emails, texts, Facebook chats and Slack direct
 9    messages) between and among Bill Boyles, Vanessa Hughes, Jenny Magill,
10    Jeremy Whiteley, Katherine McNamara, Chelsea Papciak (Filer), Jenna Bulis,
11    Mary Appelgate, Caroline Cole, Emily Carter, Jesse Jensen, Robert Cook, Nicole
12    Beauregard, Athena Kolbe, Megan Hurwitt, Martha Thompson, Josh Scarpuzzi,
13    University of North Carolina Wilmington and associates, Lifetime and associates,
14    The Doctors studios and associates, Loma Linda University, University of
15    California Los Angeles, Hilton Foundation, Carter Reum, Paris Hilton, Rebecca
16    Mellinger, 11:11 Media and associates, Paris Hilton Entertainment, Eric Schmidt;
17             Communications between BCS and Zotero, Hover/Tuscows and
18    Cloudways;
19             NDAs, Volunteer Agreements and volunteer lists;
20             Partnership contracts and agreements with Lifetime;
21             BCS Corporate filings;
22             BCS Board of Directors meeting minutes and resolutions;
23             BCS financial reports, donation reports/ledgers, tax returns, and bank
24    records;
25             BCS Board of Directors and volunteer resignation letters;
26             BCS loans, leases and contracts;
27             Pleadings, correspondence, filings, orders, discovery and settlement
28    agreements in the action entitled Breaking Code Silence v. Papciak, et al., CDCA

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 1    Case No. 3:21-CV-00918;
 2             Audio/Video recording of board of directors’ meetings;
 3             WordPress database;
 4             Invoices for Cloudways cloud storage;
 5             Ownership/registration/credentials for social media accounts, domains and
 6    archives and communications regarding same and removals/revocations of
 7    administrative rights; and
 8             Trademark applications for Breaking Code Silence and related names.
 9    5.     DISCOVERY
10           A.         Status of Discovery
11             The Parties have not commenced discovery, but intend to exchange initial
12    disclosures under Federal Rule of Civil Procedure 26(a) on June 8, 2022.
13           B.         Discovery Plan
14                      1.   Time, Form, or Requirements for Rule 26(a) Disclosure.
15             The Parties agree that no changes should be made as to the timing, form, or
16    requirements under Federal Rule of Civil Procedure 26(a). The Parties intend to
17    exchange initial disclosures on June 8, 2022.
18                      2.   Discovery Subjects and Phases.
19             The Parties propose to complete all discovery in approximately 11 months.
20    The Parties propose to complete fact discovery in approximately 9 months. The
21    Parties agree that discovery need not be conducted in phases.
22           Plaintiff’s Anticipated Discovery. Plaintiff anticipates discovery related to
23    Defendants’ access, use, and alteration of Plaintiff’s website, social media
24    accounts, other online accounts, and data without authorization from Plaintiffs,
25    including but not limited to, Defendants’ communications with each other or
26    others regarding the same. Plaintiff also anticipates discovery related to the harm
27    and damages it suffered as a result of Defendants’ misconduct.
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 1           Defendants’ Anticipated Discovery. Defendants anticipate discovery
 2    regarding the factual basis for the allegations of the Complaint, including the false
 3    allegations regarding Defendants’ alleged access, use, and alteration of Plaintiff’s
 4    website, social media accounts, other online accounts, and data without
 5    authorization from Plaintiffs. Defendants anticipate discovery regarding the true
 6    ownership of the domains, archives and social media accounts at issue.
 7    Defendants anticipate discovery regarding the retaliatory and bad faith nature of
 8    the claims asserted and the true cause(s) of any harm Plaintiff suffered to its
 9    reputation or otherwise.
10                      3.   Any Issues Regarding the Disclosure or Discovery of ESI.
11           Preservation. The Parties have taken steps to ensure the preservation of
12    information relevant to this action, including ESI.
13           Production. The Parties discussed the terms and conditions of production of
14    ESI and a limitation on the number of custodians who will be subject to a search
15    for ESI. The Parties intend to agree to produce ESI in searchable formats with
16    basic meta data fields.
17           The Parties also intend to agree on the terms of a protective order to be
18    entered by the Court.
19                      4.   Issues Regarding Claims of Privilege or Work Product.
20             The Parties agree that privileged documents created after the filing date of
21    the complaint in this action need not be included on any party’s privilege logs.
22    The Parties otherwise do not propose any modification of the procedures set forth
23    in Rule 26(b)(5) for withholding documents based upon the attorney-client
24    privilege or work product doctrine and for identifying privileged documents that
25    have been inadvertently produced. The Parties also agree that Federal Rule of
26    Evidence 502(b) shall apply with respect to inadvertent production.
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 1                      5.   Discovery Limitations.
 2             The Parties agree to conduct discovery under the Federal Rules of Civil
 3    Procedure without additional limitations.
 4    6.     LEGAL ISSUES
 5             Plaintiff’s Position.
 6             At this time, Plaintiff contends the key legal issues include:
 7             Whether Defendants’ conduct satisfies the requirements of the Computer
 8    Fraud and Abuse Act; and
 9             Whether Defendants’ conduct satisfies the requirements of California’s
10    Computer Data Access and Fraud Act.
11             Defendants’ Position.
12             At this time, Defendants contend the key legal issues include:
13             Whether Plaintiff has standing to assert claims for violations of the
14    Computer Fraud and Abuse Act and California’s Computer Data Access and
15    Fraud Act;
16             Whether Defendants conduct satisfies the requirements of the Computer
17    Fraud and Abuse Act and California’s Computer Data Access and Fraud Act; and
18             Whether the Complaint was initiated in bad faith and for an improper
19    purpose.
20    7.     MOTIONS
21           A.         Procedural Motions
22             The Parties do not plan to add other parties. Plaintiff does not anticipate
23    filing any procedural motions. Defendants anticipate filing a Rule 11 Motion for
24    Sanctions.
25           B.         Dispositive Motions
26             Plaintiff anticipates filing a motion for summary judgment on the two
27    asserted causes of action. Defendants anticipate filing a motion for summary
28    judgment on the two asserted claims for relief.

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 1           C.         Class Certification Motion
 2             The Parties do not intend to file any class certification motion.
 3    8.     ALTERNATIVE DISPUTE RESOLUTION (ADR)
 4           A.         Prior Discussions
 5             Plaintiff’s counsel and Defendants’ prior counsel engaged in settlement
 6    negotiations. During the Parties’ meet and confer call on May 25, 2022,
 7    Plaintiff’s counsel and Defendants’ current counsel discussed the potential of
 8    revisiting settlement negotiations. To date, the parties have not reached any terms
 9    for a resolution.
10           B.         ADR Selection
11             The Parties agree to ADR Procedure No. 2 (court mediation panel). The
12    Parties discussed potential neutral selections and intend to identify a mutually
13    agreed upon selection at a later date.
14    9.     TRIAL
15           A.         Proposed Trial Date
16             The Parties request a trial date in October 2023. The date is based on the
17    relative level of factual and legal complexity of the case as well as the
18    consideration of scheduling conflicts discussed by the Parties.
19           B.         Time Estimate
20             The Parties anticipate that trial will last between five to seven days.
21           C.         Jury or Court Trial
22             Defendants made a demand for a jury trial in their Answer filed on May 6,
23    2022.
24           D.         Magistrate Judge
25             Plaintiff does not object to have the case heard by a magistrate judge.
26    Defendants are willing to stipulate to have the case heard by the assigned
27    Magistrate Judge, Hon. Maria A. Audero.
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 1           E.         Trial Counsel
 2             Plaintiff’s trial counsel includes Tamany Vinson Bentz (lead trial counsel),
 3    Jason Lueddeke, and Benjamin Grush.
 4             Defendants’ trial counsel includes M. Adam Tate (lead trial counsel), Dirk
 5    O. Julander, and Catherine A. Close.
 6    10. SPECIAL REQUESTS/OTHER ISSUES
 7             A.       Independent Expert/Master and Manual for Complex Litigation.
 8             The Parties agree that (a) an independent expert or master is not necessary,
 9    and (b) the matter is not complex and the Manual for Complex Litigation is not
10    necessary.
11             B.       Appearance at Mandatory Scheduling Conference.
12             Lead trial counsel for Plaintiff (Tamany Vinson Bentz) has a scheduling
13    conflict and cannot appear in person at the June 17, 2022 MSC. See Declaration
14    of Tamany Vinson Bentz filed concurrently herewith. Ms. Bentz can appear by
15    phone and Jason Lueddeke can appear in person on behalf of Plaintiff. Mr.
16    Lueddeke will have full authority to make decisions during the hearing for
17    Plaintiff. Defendants do not oppose this request.
18             C.       Proposed Case Management Schedule.
19             The Parties jointly propose the following schedule for the Court’s
20    consideration (on the next page):
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 1                      Deadline                               Parties’ Proposal
 2      Motions to amend pleadings or add            March 3, 2023
 3      parties
 4      (90 days before close of discovery)
 5      Expert disclosures pursuant to Rule          April 3, 2023
 6      26(a)(2)(c)
 7      (60 days before close of discovery)
 8      Rebuttal expert disclosures                  May 3, 2023
 9      (30 days after initial expert disclosures)
10      Discovery cut-off                            June 1, 2023
11      Dispositive motions filing deadline          June 30, 2023
12      (30 days after close of discovery)
13      Joint Pretrial Order and Rule                July 28, 2023 (if no dispositive
14      26(a)(3) disclosures and objections          motions are filed)
15
16                                                   30 days after order on dispositive
17                                                   motions (if dispositive motions are
18                                                   filed)
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 1
      DATED: June 7, 2022                           DLA PIPER LLP (US)
 2
 3                                                   By: /s/ Tamany Vinson Bentz
                                                         Tamany Vinson Bentz
 4                                                       Jason Lueddeke
 5
                                                           Attorneys for Plaintiff
 6                                                         BREAKING CODE SILENCE
 7
 8
      DATED: June 7, 2022                           Julander Brown & Bollard
 9
10                                                   By: /s/ Catherine Close
                                                         Catherine Close
11                                                       M. Adam Tate
12                                                         Attorneys for Defendants
                                                           KATHERINE MCNAMARA and
13                                                         JEREMEY WHITELEY
14
15                              SIGNATURE CERTIFICATION
16             Pursuant to L.R. 5-4.3.4(a)(2)(i) of the Central District of California, I
17    hereby attest that all other signatories listed, and on whose behalf the filing is
18    submitted, concur in the filing’s content and I have authorization to affix all other
19    signatories electronic signature to this filing.
20
21    DATED: June 7, 2022                           DLA PIPER LLP (US)
22
                                                     By: /s/ Tamany Vinson Bentz
23                                                       Tamany Vinson Bentz
24                                                       Jason Lueddeke

25                                                         Attorneys for Plaintiff
26                                                         BREAKING CODE SILENCE

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